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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                         Case No. 3:13cr25-MCR

GARY WAYNE THOMAS

                                      /

                FINAL ORDER FORFEITING SUBSTITUTE PROPERTY

        This matter came before the Court on the United States’ Motion for Issuance of a
Final Order of Forfeiture for Substitute Assets as to All Persons and Entities, pursuant to
Federal Rules of Criminal Procedure, Rule 32.2(e) and Title 21, United States Code,
Section 853(p), to act as partial satisfaction of the $4,970,000 monetary judgment and
other outstanding obligations due and owing by defendant Gary Wayne Thomas. (Doc.
243).
        AND WHEREAS, on or about April 15, 2014, this Court entered an Order
Forfeiting Substitute Property, which forfeited defendant Gary Wayne Thomas’ right, title
and interest in the property identified below. (Doc 229).
        A. Cashier’s Check from Regions Bank in the amount of $32,696.45; and

        B. Cashier’s Check from Wells Fargo Bank in the amount of $888.32.

Said motion and the facts and citations included therein are incorporated by reference.
(Doc. 229).
        AND WHEREAS, as a result, the United States caused to be published a Notice
of Forfeiture on the United States official forfeiture website, www.forfeiture.gov, which
advised all third parties of their right to petition the Court within sixty days of the first day
of publication on www.forfeiture.gov for a hearing to adjudicate the validity of their
alleged legal interest in the aforementioned property. (Doc. 238).
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       AND WHEREAS, a notice of forfeiture was directly mailed to Jack and Lilly
Gardner, and was delivered via certified mail on May 3, 2014. (Doc. 243, Exhibit A).
       AND WHEREAS, since that time, no person or entity has made any claim to or
declared any interest in said property, and the time for filing petitions has expired.
       AND WHEREAS, that as of today, the defendant owes a total of approximately
$5,952,093.60, which consists of approximately $979,455.60 in restitution, $4,970,000
on the monetary judgment, and $2,638 for the special monetary assessments;
       IT IS HEREBY ORDERED, ADJUDGED and DECREED:
       1.     That all right, title and interest in the below property:
       A.     Cashier’s Check from Regions Bank in the amount of $32,696.45,
              with any interest accrued thereon; and

       B.     Cashier’s Check from Wells Fargo Bank in the amount of $888.32,
              with any interest accrued thereon.

is condemned, forfeited and vested in the United States of America. That said property
is forfeited as substitute assets of Gary Wayne Thomas to satisfy the financial
obligations owed by Gary Wayne Thomas in this criminal case.
       2.     That all interest accrued is further forfeited to the government.
       3.     That no person or entity has established that they have any legal right,
title, or interest in said property forfeited to the United States of America, and said
forfeitures are now final.
       4.     That the United States Marshals Service and/or the Internal Revenue
Service - CI shall dispose of said property in accordance with law.
       IT IS SO ORDERED this 4th day of May, 2015.



                                             s/   M. Casey Rodgers
                                           M. CASEY RODGERS
                                           CHIEF UNITED STATES DISTRICT JUDGE



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